EXHIBIT B
Hytera hereby respectfully renews its requests to withdraw this case and its evidence. Upon review of its
prior applications, Hytera realizes that it omitted a number of critical facts which confirm that Hytera’s
claims should not have been filed before the Shenzhen Intermediate People’s Court, and which strongly
support an order from this Court dismissing this action. Hytera’s request is voluntary—i.e., Hytera
desires that this action be dismissed, and that these claims be heard by the United States courts, where
the parties’ disputes over Hytera’s products have been pending since 2017, before Hytera filed this
action. And, critically, Motorola agrees that this action should be withdrawn, and that the Court should
deem it withdrawn and dismissed. In view of these new facts, and as set forth in more detail below, it is
clear that, consistent with core principles of Chinese jurisprudence governing civil disputes such as this
one, the proper course of action in these circumstances—when both parties agree that this action is
resolved, and should be withdrawn or dismissed—is for the Court to grant Hytera’s request, and deem
the action withdrawn or dismiss it outright. Hytera also submits the declaration of [insert name and
description of experience], who confirms that in the circumstances presented here, withdrawal or
dismissal is the only course of action consistent with Chinese jurisprudence for civil disputes. For the
following reasons, Hytera’s request represents its autonomy of will, and Hytera begs this Court to grant
its request.

First, it is truly the Plaintiff’s desire to withdraw this case and all evidence submitted by Plaintiff, and this
is a true expression of the intention of Hytera. We apologize if our statement or action in the past in
front of this Court may have given this Court mixed signals about whether withdrawing the case and
evidence is our true expression. However, we would like to make it clear in this application that Hytera
would like to withdraw the case (and evidence). Although Hytera has been ordered to withdraw this
case by the United States District Court, and although Hytera disagrees with that U.S. order (and indeed
has appealed that order to the US court of appeals), Hytera respects the US District Court’s authority
and emphatically desires to comply with the US District Court’s orders. Under these circumstances, it is
Hytera’s most sincere wish that its application to withdraw this lawsuit be granted. It is within the
autonomy of will for Hytera and in Hytera’s best interest that it comply with the US District Court’s anti‐
suit injunction and subsequent order to withdraw this case and evidence. In the alternative, Hytera
respectfully requests that this court at least pause, stay, or suspend these proceedings until further
notice that the US District Court’s anti‐suit injunction is lifted.

Second, in reviewing its prior filings, Hytera now realizes it omitted certain important facts concerning
the relationship of this matter to the proceedings in the United States between Hytera and Motorola.
These facts confirm that this matter should be withdrawn or dismissed. Specifically, Hytera and
Motorola are currently parties to proceedings in the United States concerning Hytera’s H‐series
products. Those proceedings have been pending in the United States District Court for the Northern
District of Illinois (the “United States court”) since 2017, long before Hytera submitted its Statement of
Claim to this Court on June 2, 2022. Specifically with respect to Hytera’s H‐series products, the United
States court is presently overseeing proceedings to determine whether Hytera’s H‐series products are
subject to that court’s Royalty Order, which itself was the subject of proceedings in the United States
court beginning in 2021—also well before Hytera filed this action here. Additionally, the current
proceedings over the H‐Series in the United States court was specifically envisioned by the United States
court’s orders in December 2021 and early 2022—before this action was filed in June 2022. The
substantive issues involved in this declaratory judgment action fall within the scope of those United
States court orders, which were issued before this declaratory judgment action was filed.

Moreover, many of the substantive issues involved in this declaratory judgment action have already
been decided by the United States court. Prior to Hytera’s submission of its Statement of Claim to this
Court, the United States court issued many orders and rulings concerning the parties’ disputes over
Motorola’s trade secrets and copyrights, and Hytera’s use of them. This includes orders and rulings
concerning the nature and scope of Motorola’s trade secrets and copyrights, Hytera’s use of them in its
products, and the extent to which Hytera is permitted to sell its products on an ongoing basis. As
evidence of the substantial experience the United States court already has with substantive issues, the
United States court’s docket on this matter includes over 1500 docket entries, comprising more than
92,750 pages, and those filings are increasing as proceedings in the United States continue. As
confirmed by [insert name], in circumstances such as these, Hytera’s Statement of Claim concerning its
H‐series products should not have been filed in this Court until after the United States court had an
opportunity to decide such issues. [cite] This is particularly the case given the extensive, prior
experience the United States court has with the issues underlying Hytera’s claims here, and the
tremendous resources the United States court, Motorola, and Hytera have devoted over many years to
the proceedings in the United States. As such, the proceedings before the United States court serve
judicial economy and will save the resources of both countries. As [insert name] confirms, Chinese
jurisprudence for civil disputes such as this requires deference to such pre‐existing, extensive
proceedings in another court. [cites/further explanation from legal scholar]. As such, this matter should
be deemed withdrawn or dismissed.

Third, at the time Hytera filed its Statement of Claim for this action in June 2022, Hytera’s declaratory
relief claims lacked a proper jurisdictional basis. At that time, Hytera had not urged Motorola orally or in
writing to assert claims against the H‐Series, or withdraw any such claims. [cite] For this additional
reason, this action should be deemed withdrawn or the action should be dismissed by the Court. [cite].

Fourth, Motorola agrees that this action should be deemed withdrawn or dismissed. Under Chinese
law, that is highly significant, as it confirms that there is no longer an active dispute before this Court.
[cite to declaration] Moreover, the withdrawal of this case present no harmful effects to the national
interest, any social interest, public interest, or any third party’s interest. As a result, consistent with
well‐established Chinese jurisprudence governing civil disputes such as this one, the only proper course
of action is for the Court to grant Hytera’s request, and deem this action withdrawn or dismissed.
[cite/further explanation from legal scholar/legal citations]


Second, Hytera’s request for withdrawal will not harm the legitimate rights of the other party, Motorola.
In fact, the parties have had extensive communication in the past week and it is also the desire of
Motorola that this lawsuit shall be dismissed or paused.

In sum, Hytera respectfully requests that this application to withdraw be granted. Both parties agree
that the dispute should be withdrawn. There is therefore no dispute among the parties that Hytera’s
application to withdraw from this Action shall be granted. To the extent the Court is inclined to deny
this request, Hytera requests a formal written ruling.




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